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18-cV-02217-S.]O-FFI\/| Document 80 Filed 09/08/18 Page 1 of 9 Page |D #:2087

HARDER LLP

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Attorneys for Defendant
DONALD J. TRUMP

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

STEPHANIE CLIFFORD a.k.a.
STORMY DANIELS a.k.a. PEGGY
PETERSON, an individual,

Plaintiff,

V.

DONALD J. TRLH\/[P a.k.a. DAVID
DENNISON, an individual, ESSENTIAL
CONSULTANTS, LLC, a Delaware
Limited Liability Company, MICHAEL
COHEN, an individual, and DOES 1
through 10, inclusive,

Defendants.

 

 

{00094226;1}

Case No. 2118-CV-02217

DEFENDANT DONALD J.
TRUMP’S SUPPLEMENTAL
STATEMENT REGARDING JOINT
RULE 26(1`) REPORT;
DECLARATION OF CHARLES J.
HARDER

Scheduling Conference

Date: September 24, 2018

Time: 2:00 p.m.

Assigned to the Hon. S. J ames Otero

Action Filed: March 6, 2018

 

 

 

SUPPLEMENTAL STATEMENT RE: RULE 26(f) REPORT

 

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Defendant Donald J. Trump (“Mr. Trump”) submits the following
supplemental statement regarding the parties’ Joint Rule 26(f) Report. [ECF No. 75.]
Plaintiff Stephanie Clifford’s (“Ms. Clifford”) first cause of action for declaratory
relief seeks a declaration that the Confldential Settlement Agreement dated October
28, 2016 (the “Settlement Agreement”) was never formed, or in the alternative, is
void, invalid, or otherwise unenforceable [ECF No. 14.]

As set forth in the attached letter to Ms. Clifford’S counsel, the parties agree
that Mr. Trump did not sign the Settlement Agreement. Moreover, Mr. Trump has
never taken the position that he is a party to the Settlement Agreement, or
affirmatively sought to invoke any rights under the Settlement Agreement. Ms.
Clifford confirmed these facts in her separate defamation action against Mr. Trump,
which has now been transferred to this Court, stating:

Mr. Trump has never in fact taken the position that he is a

party to the Settlement Agreement or affirmatively sought to

invoke any rights under the Settlement Agreement in any

action now pending - including those in Califomia.
[SDNY Case No. l:lS-cv-03842-JMF, Opposition to Motion to Transfer, ECF Nos.
l 3 , l 6-l .]

Mr. Trump does not, and will not, contest Ms. Clifford’s assertion that the
Settlement Agreement was never formed, or in the alternative, should be rescinded
[Harder Decl., EX. A.] Moreover, Mr. Trump covenants that he will not bring any
action, proceeding or claim against Ms. Clifford to enforce any of the terms of the
Settlement Agreement.

As a result, Ms. Clifford’s claim against Mr. Trump for declaratory relief is
moot, and the Court therefore lacks subject matter jurisdiction to decide this claim.
See Arz`zonansfor Ojj‘icial English v. Arizona, 520 U.S. 43, 67 (2009) (“An actual
controversy must be extant at all states of review, not merely at the time the complaint

is filed.”); lOB Wright & Miller, Federal Practice and Procedure, Civil 3d, §2757 (“lt

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SUPPLEMENTAL STATEMENT RE: RULE 26(f) REPORT

 

 

Case 2

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is not enough that there may have been a controversy when the action was
commenced if subsequent events have put an end to the controversy, or if the
opposing party disclaims the assertion of countervailing rights.”); Fleming v.
Coverstone, 2010 WL 11508869, at *5 (S.D. Cal. June 17, 2010); Paramount
Pictures Corp. v. RePlayTV, 298 F.Supp.2d 921, 924-927 (C.D. Cal. 2002); Cily 0f
Parma, Ohio v. Cingular Wireless, LLC, 278 F.App’X 636, 641-42 (6th Cir. 2008);
Columbian Fin. Corp. v. Banclnsure, Inc., 650 F.3d 1372, 1381_82 (10th Cir. 2011);
Toyo Tire & Rubber Co., Ltd v. Doublestar Dong F eng Tyre Co., Ltd, 2018 WL
1896310, at *6 (C.D. Cal. Mar. 28, 2018); Wahlberg v. Benson Builders, LLC, 2012
WL 3027984, at *7 (W.D. Mich. July 24, 2012).

Federal Rule of Civil Procedure l2(h)(3) states that “[i]f the court determines at
any time that it lacks subject-matter jurisdiction, the court must dismiss the action.”
A court may raise the question of subject matter jurisdiction, sua sponte, at any time
during the pendency of the action. Snell v. Cleveland, Inc., 316 F.3d 822, 826 (9th
Cir. 2002); Emrich v. Touche Ross & Co., 846 F.2d 1190, 1194 n. 2 (9th Cir. 1988)
(“[i]t is elementary that the subject matter jurisdiction of the district court is not a
waivable matter and may be raised at anytime by one of the parties, by motion or in
the responsive pleadings, or sua sponte by the trial or reviewing court.”)

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SUPPLEMENTAL STATEMENT RE: RULE 26(f) REPORT

 

 

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Based on the foregoing, Mr. Trump respectfully requests that the Court dismiss,
sua sponte, Ms. Clifford’s first cause of action for declaratory relief against Mr.
Trump. In the altemative, Mr. Trump respectfully requests that, at the September 24,
2018 Scheduling conference, the Court set a briefing schedule for Mr. Trump’s
forthcoming motion to dismiss Ms. Clifford’s first cause of action for lack of subject
matter jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(1), on the
grounds that no actual controversy exists between Ms. Clifford and Mr. Trump

regarding the Settlement Agreement.

Dated: September 8, 2018 HARDER LLP

By: /s/ Charles J. Harder
CHARLES J. HARDER

Attorneys for Defendant
DONALD J. TRUMP

 

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SUPPLEMENTAL STATEMENT RE: RULE 26(f) REPORT

 

 

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DECLARATION OF CHARLES J. HARDER

I, Charles J. Harder, declare:

1. 1 am an attorney duly licensed to practice before all courts of the State of
Califomia and in the U.S. District Court for the Central District of Califomia, among
other courts. l am a partner of the law firm Harder LLP, counsel of record for
Defendant Donald J. Trump (“Mr. Trump”). l make this declaration based on my
own personal knowledge and, if called and sworn as a witness, l could and would
competently testify hereto.

2. Attached hereto as Exhibit A is a true and correct copy of my letter to
counsel for plaintiff Stephanie Clifford, Michael Avenatti, which was transmitted to
Mr. Avenatti on September 8, 2018.

l declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.

Executed on September 8, 2018, at Los Angeles, Califomia.

GFEARLES J. HARDER

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SUPPLEMENTAL STATEMENT RE: RULE 26(f) REPORT

 

 

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EXhibit A

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132 S. RODEO DR|VE, FOURTH FLOOR
BEVERL‘{ H|LLSl CA 90212 - 424.203.1600

WWW.HARDERLLP.CO|V|

 

September 8, 2018

VIA EMAIL
Mr. Michael J. Avenatti

Avenatti & Associates, APC

520 Newport Center Drive, Suite 1400
Newport Beach, California 92660
Email: mavenatti@eaoanavenatti.com

 

Re: Steghanie Cliffor¢_l v. Dom_lld .I. Trumg et al. - Case No. 2:18-cv-02217
Dear Mr. Avenatti:

We are writing to meet and confer pursuant to Local Rule 7-3 regarding defendant
Donald J. Trump’s contemplated motion to dismiss Ms. Clifford’s declaratory relief claim for
lack of subject matter jurisdiction. This motion will be made pursuant to Federal Rule of Civil
Procedure 12(b)(1) on the grounds that no actual controversy exists between Ms. Clifford and
Mr. Trump regarding the Confidential Settlement Agreement dated October 28, 2016 (the
“Settlement Agreement”).

The parties agree that Mr. Trump did not sign the Settlement Agreement. Moreover, Mr.
Trump has never taken the position that he is a party to the Settlement Agreement, or
affirmatively sought to invoke any rights under the Settlement Agreement. Ms. Clifford has
confirmed these facts in her defamation action against Mr. Trump, stating:

Mr. Trump has never in fact taken the position that he is a party to
the Settlement Agreement or affirmatively sought to invoke any
rights under the Settlement Agreement in any action now pending _
including those in California.

[SDNY Case No. 1:18-cv-03842-JMF, Opposition to Motion to Transfer, ECF Nos. 13, 16-1.]

Mr. Trump hereby stipulates that he does not, and will not, contest Ms. Clifford’s
assertion that the Settlement Agreement was never formed, or in the altemative, should be
rescinded. Moreover, Mr. Trump hereby covenants that he will not bring any action, proceeding
or claim against Ms. Clifford to enforce any of the terms of the Settlement Agreement.

In light of the foregoing, Ms. Clifford’s claim against Mr. Trump for declaratory relief is
moot, and the Court therefore lacks subject matter jurisdiction to decide this claim. See lOB
Wright & Miller, Federal Practice and Procedure § 2757 (“The presence of a controversy must
be measured at the time the court acts. It is not enough that there may have been a controversy

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Mr. Michael J. Avenatti
September 8, 2018
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when the action was commenced if subsequent events have put an end to the controversy, or if
the opposing party disclaims the assertion of countervailing rights.”) Numerous cases have
relied upon Wright & Miller, Federal Practice and Procedure § 2757, to dispose of claims under
the federal Declaratory Judgment Act (28 U.S.C. § 2201) as moot.

For example, in Flemz'ng v. Coverstone, 2010 WL 11508869, at *5 (S.D. Cal. June 17,
2010), the Court granted a motion to dismiss for lack of subject matter jurisdiction, holding:

...[W]here “the opposing party disclaims the assertion of
countervailing rights,” a claim for a declaratory judgment is moot.
lOB Charles Alan Wright & Arthur Miller, Federal Practice and
Procedure § 2757, citing Eccles v. Peoples Bank of Lakewood
Village, 333 U.S. 426, 434-35 (1947). [Defendant’s] statements that
she did not sign the contract and will not sue moot the declaratory
judgment claim.

In Paramount Pictures Corp. v. Replay TV, 298 F.Supp.2d 921, 926-27 (C.D. Cal. 2004),
the Court granted a motion to dismiss for lack of subject matter jurisdiction, holding:

“. . .[I]t is not enough that there may once have been a controversy
at the time the suit was commenced if subsequent events have put
an end to the controversy.” (Citation.) (citing, inter alia, 10 C.
Wright & A. Miller, Federal Practice and Procedure, § 2757 at 766-
67 (1973 ed.)); (Citation.) Such is the case here. As the Court held
previously, the Newmark Plaintiffs had standing to maintain their
claims for declaratory relief. However, a subsequent event, the
dismissal of the RePlayTV actions, put an end to the controversy.

In Cily of Parma, Ohio v. Cingular Wz`reless, LLC, 278 F. App’x 636, 641-42 (6th Cir.
2008), the Court granted a motion to dismiss for lack of subject matter jurisdiction, holding:

At the time of the hearing on November 2, 2006, the parties did not
dispute their interpretation of the Agreement. . .Thus, Parma seeks a
declaratory judgment memorializing the parties’ agreed-upon
interpretation of the Agreement. In the absence of a real dispute,
however, such relief would constitute an advisory opinion,
forbidden under Article III of the Constitution. (Citations.) Even if
a controversy existed when Parma filed suit, Cingular’s contentions
on November 2, 2006 demonstrate its subsequent absence. See 10B
Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal
Practice and Procedure § 2757 (3d ed.1998) (“It is not enough that
there may have been a controversy when the action was commenced
if subsequent events have put an end to the controversy, or if the
opposing party disclaims the assertion of countervailing rights.”)

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September 8, 2018
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See also Columbian Fz'n. Corp. v. Banclnsure, Inc., 650 F.3d 1372, 1381-82 (10th Cir. 2011);
Toyo Tire & Rubber Co., Ltd v. Doublestar Dong F eng Tyre Co., Ltd, 2018 WL 1896310, at *6
(C.D. Cal. Mar. 28, 2018); Wahlberg v. Benson Builders, LLC, 2012 WL 3027984, at *7 (W.D.
Mich. July 24, 2012).

The federal Declaratory Judgment Act should govern this case. See In re Adobe Sys., Inc.
Privacy Litig., 66 F. Supp. 3d 1197, 1219 (N.D. Cal. 2014). However, if the California
Declaratory Relief Act (Cal. Civ. Proc. Code § 1060) applies, the result will not change. Id.

(“. . .whether the state or federal statute applies makes little difference as a practical matter, as the
two statutes are broadly equivalent.”); see also Am. Zurich Ins. Co. v. Countrjy Villa Serv. Corp.,
2015 WL 4163008, at *6 (C.D. Cal. July 9, 2015). As with the federal Declaratory Judgment
Act, under the California Declaratory Relief Act, “[a] question may be deemed moot when,
although it initially presented an existing controversy, the passage of time or the acts of the
parties. . .have deprived the controversy of its life.” Boccato v. City of Hermosa Beach, 158
Cal.App.3d 804, 808.

Accordingly, Ms. Clifford should immediately dismiss Mr. Trump from this lawsuit. If
Ms. Clifford will not voluntarily dismiss Mr. Trump, please let us know your availability to meet
and confer pursuant to Local Rule 7-3 regarding Mr. Trump’s contemplated motion to dismiss.

Sincerely,

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CHARLES J. HARDER Of
HARDER LLP

cc: Brent H. Blakely, Esq.

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